                     United States District Court
                              CIVIL MINUTES - GENERAL

Case No.: 4:22cv325-RH                                                    Date: October 12, 2022

                  AUGUST DEKKER et al. v. SIMONE MARSTILLER et al.

DOCKET ENTRY: Preliminary Injunction Hearing Held                              9:33 – 11:11 a.m.
                                                                         11:27 a.m. – 12:57 p.m.

Court hears argument of counsel on plaintiffs’ motion for preliminary injunction. Ruling by Court:
The motion is denied. An order will follow.


PRESENT: ROBERT L. HINKLE, U.S. DISTRICT JUDGE

        Cindy Markley                                       Megan Hague
        Deputy Clerk                                  Official Court Reporter


Attorneys for Plaintiffs:                        Attorneys for Defendants:
Omar Gonzalez-Pagan                              Mohammad Jazil
Jennifer Altman                                  Gary Perko
Carl Charles                                     Michael Beato
Katherine DeBriere
Catherine McKee
Chelsea Dunn
Simone Chriss
______________________________________________________________________________
PROCEEDINGS: Preliminary Injunction Hearing Held

9:33    Court in session
        Objection to late witnesses by Plaintiffs (Gonzalez-Pagan)
9:34    Ruling by Court: Witnesses are not excluded.
9:35    Defense Witness:
            Michael Kade Laidlaw – sworn, direct (Perko)
9:38    Plaintiff voir dire for expert qualification (Charles)
9:49    Continued direct by Defense (Perko)
10:05   Cross examination (Charles)
            Plaintiff Exhibit P-1 shown to witness (not admitted)
10:31   Re-direct (Perko)
10:33   Court inquires of witness
10:36   Defense Witness:
            Zoe Hawes – sworn, direct (Beato)
10:41   Cross examination (Chriss)
10:44   Court inquires of witness
10:48 Defense Witness:
         Yaacov Sheinfeld – sworn, direct (Jazil)
10:56 Cross examination (Altman)
11:11 Court in recess

11:27 Court in session
      Argument by Plaintiffs (Gonzalez-Pagan)
11:55 Response by Defendants (Jazil)
12:26 Rebuttal (Gonzalez-Pagan)
12:42 Ruling by Court: Motion for preliminary injunction is denied. An order will follow.
12:48 Parties discuss schedule
12:57 Court adjourned
